Case 3:16-md-02738-FLW-LHG Document 10724 Filed 10/09/19 Page 1 of 2 PagelD: 101148

DrinkerBiddle:

Law Offices

600 Campus Drive
Florham Park, NJ
07932-1047

973-549-7000
973-360-9831 fax

www.drinkerbiddle.com

“A Delaware Limited
Liability Partnership

CALIFORNIA
DELAWARE
ILLINOIS
LONDON

NEW JERSEY
NEW YORK
PENNSYLVANIA
TEXAS

WASHINGTON D.C.

Andrew B. Joseph
Partner responsible for

Florham Park Office

Established 1849

 

Susan M. Sharko
973-549-7350 Direct
973-360-9831 Fax
Susan.Sharko@dbr.com

 

L P

October 9, 2019

VIA ECF AND OVERNIGHT MAIL

Honorable Freda L. Wolfson, Chief Judge
United States District Court - District of New Jersey
Clarkson S. Fisher Building & U.S. Courthouse
402 East State Street, Court Room 5E
Trenton, NJ 08608

Re: Inre: Johnson & Johnson Talcum Powder Products Marketing, Sales
Practices and Products Liability Litigation, MDL No. 2728

Dear Judge Wolfson:

Defendants are cognizant of the Court’s admonition that it would not accept
additional briefing related to the Daubert hearing. Defendants nonetheless feel it is
important to submit a short letter addressing what we believe is a misstatement in plaintiffs’
post-hearing brief.

On page 16 of their brief, plaintiffs contend that a July 18 statement by the New
England Journal of Medicine (“NEJM”) regarding p values undermines defendants’ and
their experts’ positions regarding statistical significance. This suggestion is false. The
NEJM explicitly states that it will continue to require p levels for primary endpoints of a
study (i.e., the main object of the study) for which a statistical analysis is prespecified. In
this setting, the NEJM states, “the significance level from [the prespecified analysis] is a
reliable indicator of the extent to which the observed data contradict a null hypothesis of
no association” (i.e., statistical significance is meaningful in that context).' Given that
ovarian cancer was a primary endpoint of the case-control studies on which plaintiffs and
their experts rely, the NEJM’s change in policy has no relevance to the literature at issue
in this litigation. Moreover, while the NEJM will not require p levels for secondary
endpoints, its principal concern with statistical significance in the latter situation is false
positives, not false negatives,” making it all the more irrelevant to the Daubert issues before
the Court.

 

| See Harrington, et. al, New Guidelines for Statistical Reporting in the Journal, 381 N.E.J.M. 285,
286 July 18, 2019).

2 See id. at 285 (“When 10 tests are conducted, the probability that at least one of the 10 will have a
P value less than 0.05 may be as high as 40% when the null hypothesis of no difference is true”). In other
words, there is as much as a 40% chance that an association that looks statistically significant is actually
spurious even though the p value is nominally 0.05, which would typically be understood to mean that there
is only a 5% chance that it is spurious.

120907134.1
Case 3:16-md-02738-FLW-LHG Document 10724 Filed 10/09/19 Page 2 of 2 PagelD: 101149

DrinkerBiddle&Reath
Honorable Freda L. Wolfson

October 9, 2019
Page 2

In short, plaintiffs’ suggestion that the NEJM statement demonstrates that
defendants’ positions are “erroneous” and Dr. Diette is “wrong” (Pls.’ Br. at 16) grossly
misinterprets the NEJM’s statement.

Res ly submitted,

 
  
 

Su “Sharko

ce: All Counsel of Record (Via ECF)

120907134.1

 
